Case 9:17-cr-80242-RLR Document 83 Entered on FLSD Docket 10/24/2019 Page 1 of 1



  NS:md

                                                        UNITED STATES DISTRICT COURT
                                                        SOUTHERN DISTRICT OF FLORIDA

                                                       CASE NO.      17-80242 -CR-ROSENBE RG

  UNITED STATES OF AMERICA

  vs.

  ALEJANDRO AN DRADE CE DENO,

             Defendant.


                                                            RELEASE OF LIS PENDENS

  GRANTEE(S): YICSM166, LLC

  TO:        ALL PERSONS WHO MAY CLA IM BY, THROUGH, OR UNDER ANY OF THE DEFENDANT(S)
             AND/OR GRANTEE(S) any interest in the real property described herein.

             NOTICE IS HEREBY GIVEN that a Noti ce of Lis Pendens recorded in Palm Beach County Recorder' s Office on November 27, 2018,

  in Official Record Book 30269, Pages 0448-449 (2 pgs) of the Public Records of Palm Beach County, Florida, giving notice of the pendency of

  forfeiture proceedings in the above-referenced case is hereby released and discharged .       The property affected by thi s release is located at 642

  W. Rambling Drive, Wellington, Florida 33414, more particularly described as:

   Parcel in Section 2, Township 44 South, Range 41 East, Palm Beach County, Florida, A/KIA Tract T-10-C, Little Ranches No. 2, unrecorded,
   more particularly described as follows: That part of Section 2, Township 44 South, Range 41 East, Palm Beach County, Florida, described as
   follows: Commencing at the Northwest (NW) comer of said Section 2, thence East (E) along the North (N) line of said Secti on 2, a distance of
   1497.50 feet ; thence South a distance of626.06 feet ; thence South 75 degrees 00' 00" West, a di stance, of9 1.96 feet to P.C of a curve; thence
   Southwesterly, West and Northwesterly on a tangential curve to the right with a radius of 627.58 feet a distance of 208. l I feet to the P.T. of said
   curve; thence North 86 degrees 00' 00" West a distance of 330 feet to the P.C of a curve; thence Northwesterly, West, Southwesterly, South and
   Southeasterly on a tangential curve to the left with a radius of 388. 75 feet a di stan ce of 846.36 feet to the P.C.C of a compound curve; thence
   Southeasterly on a compound curve to the right with a radius of 605.48 feet a distance of 304.39 feet to the P.T. of said curve ; thence South Ol
   degrees 56' 15" East a distance of 389. 13 feet to the actual point of beginning of the tract of land to be described ; thence continuing South OI
   degrees 56' 15" East, a distance of 180 feet; thence North 88 degrees 03' 45" East a distance of480 feet ; thence North 01 degrees 56' 15 " West a
   distance of 180 fee t; thence South 88 degrees 03' 45" West a distance of 480 feet to the actual point of beginning; for the purposes of this
   description the North line of said Section 2 is assumed to be due East and West line.

   Parcel Identification Number: 73 -41-44-02-0 1-003 -0 I 00.

                                                                                              ARIANA FAJARDO O RSHS AN
                                                                                              UN ITED STATES ATTORNEY


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                                                                                            -"'Nalina Sombuntham.
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